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 Attorneys for Plaintiffs

                            THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

  BLUERIBBON COALITION, INC.;
  PATRICK MCKAY; and COLORADO                     NOTICE OF SUBSTITUTION OF
  OFFROAD TRAIL DEFENDERS,                         COUNSEL FOR PLAINTIFFS

          Plaintiffs,
  v.
                                                    Civil No. 2:23-cv-00923-DAK
  BUREAU OF LAND MANAGEMENT, U.S.
  DEPARTMENT OF THE INTERIOR,                        Honorable Dale A. Kimball

          Defendants.




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        Attorney Krystaly N. Koch (Utah Bar No. 16491) of the law firm of Freeman Lovell,
 PLLC, hereby enters her appearance on behalf of Plaintiffs BlueRibbon Coalition, Inc., Patrick
 McKay, and Colorado Offroad Trail Defenders in the above-captioned action in place of
 Attorney Russell A. Nevers. Ms. Koch is aware of and will comply with all pending deadlines.

        Dated April 16, 2024

                                             FREEMAN LOVELL, PLLC

                                             /s/ Krystaly N. Koch
                                             Krystaly N. Koch




                                 CERTIFICATE OF SERVICE


        I hereby certify that on April 16, 2024, I electronically filed the foregoing document with

 the Clerk of the Court for the U.S. District Court for the District of Utah by using the CM/ECF

 system, which will serve a copy of same on all counsel of record.


                                             /s/ Krystaly N. Koch
                                             Krystaly N. Koch




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